
WRISHT, J.,
delivered the opinion of the Court.
There is no error in this record. It was the- duty of the plaintiff to file his declaration within the three first days of the January Term of the Court. Act 1794, ch. 1, § 26. This he could have done in the clerk’s office, though the Circuit Judge did not attend, and there was no Court at that term. Acts of 1794, ch. 1, § 26, and 1809, ch. 49, § 8. C. and Ñ. Rev., 205 and 539. But he failed to do this; and did -not even attempt to file his declaration until the three first-days of the next term had expired, when the. Court, on the application of defendants, dismissed the- suit. After this he came forward with his declaration; hut the reasons given for not filing, his- declaration at an earlier day are altogether insufficient..
Affirm the judgment..
